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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT NEW YORK


 CHARON COINS, LLC,

               Plaintiff,
        v.
                                               Civil Action No. 7:21-cv-2777
 SONEA GRIFFITHS,

               Defendant.


                                 [PROPOSED] ORDER

       This matter having come before the Court on Plaintiff Charon Coins, LLC’s

(“Charon”), Motion to Attach Defendant’s Bank Accounts and for a Preliminary Injunction,

it is the opinion of this Court that the Motion should be GRANTED, and it is hereby

       ORDERED, that Defendant Sonea Griffiths’ bank account(s) are frozen in the

amount of $258,000.00 pending a determination of this action; and it is further

       ORDERED, that Defendant Sonea Griffiths is enjoined from transferring, selling, or

otherwise disposing of all Bitcoin obtained from Charon in her possession, custody, or control

pending a determination of this action.

       DONE and ORDERED this __ day of June, 2021.



                                           __________________________________
                                           HONORABLE VINCENT L. BRICCETTI
                                           UNITED STATES DISTRICT JUDGE
